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               UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION
In re:
BIG DADDY GUNS, INC.,                          CASE NO.: 23-10053-KKS
BIG DADDY GUNS 2, INC.,                        CASE NO.: 23-10054-KKS

                                               CHAPTER 11
    Debtors.                                   Jointly Administered under
_________________________/                               Case No.: 23-10053
ZEN CAPITAL,

           Plaintiff (claimant),

vs.

WIDE OPEN ENTERPRISES
DBA WIDE OPEN TRIGGERS,
AMERICA UNLIMITED INC.,
BIG DADDY BRANDS, INC.,
BIG DADDY ENTERPRISES, INC.,
BIG DADDY GUNS 2 INC.,
BIG DADDY GUNS 3, INC.,
BIG DADDY GUNS INC.,
BIG DADDY HEALTH INC.,
BIG DADDY MANUFACTURING INC.,
BIG DADDY ORDNANCE, INC.,
BIG DADDY UNLIMITED, INC.,
OTPYG, INC., SURVIVAL
DISPATCH, INC., WFO ENTERPRISES,
INC., XCLUDED MEDIA INC.,
BIPPY FILMS LLC, AMERICA
UNLIMITED MARKETING INC.,
ANTHONY AMATO, BIG DADDY
GUNS OF OCALA, BIG DADDY
UNLIMITED INC., and
ANTHONY MICHAEL MCKNIGHT,

          Defendants (respondents).
_________________________/
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                                         NOTICE OF REMOVAL

           PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 1452(a) and Fed. R.

Bankr. P. 9027, Defendants BIG DADDY GUNS INC., BIG DADDY GUNS 2,

INC., (“Debtor Defendants”), through counsel, hereby gives notice of removal of

the state court action described below that is currently pending in the Circuit Court

of the 8th Judicial Circuit in and for Alachua County, Florida (the “State Court”) to

the United States Bankruptcy Court, Northern District of Florida, Gainesville

Division (the “Notice of Removal”). The grounds for removal are set forth below:


           1.       On March 21, 2023, the Debtor Defendants filed voluntary petitions for

Reorganization in the U.S. Bankruptcy Court, Northern District of Florida. The

Chapter 11 cases were assigned Case Nos. 23-10023 and 23-10024 and were

assigned to the Honorable Karen K. Specie for administration.

           2.       The parties to this Removed Proceeding are Zen Capital (“Zen”),

Plaintiff 1, and Wide Open Enterprises Dba Wide Open Triggers, America

Unlimited Inc., Big Daddy Brands, Inc., Big Daddy Enterprises, Inc., Big Daddy

Guns 2 Inc., Big Daddy Guns 3, Inc., Big Daddy Guns Inc., Big Daddy Health

Inc., Big Daddy Manufacturing Inc., Big Daddy Ordnance, Inc., Big Daddy



1
    Denominated “Petitioner” in the State Court.
                                                           2
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Unlimited, Inc., Otpyg, Inc., Survival Dispatch, Inc., WFO Enterprises, Inc.,

Xcluded Media Inc., Bippy Films LLC, America Unlimited Marketing Inc.,

Anthony Amato, Big Daddy Guns Of Ocala, Big Daddy Unlimited Inc., And

Anthony Michael McKnight (“Defendants”). 2

         3.       The Debtor Defendants and others borrowed money from Plaintiff,

related entity Meged Funding Group Corp. (“Meged”) and allegedly unrelated entity

Redstone Advance Inc. (“RSA”) under a vehicle known as “Merchant Cash

Advances”) or MCA.

         4.       Plaintiff, Meged, Wynwood and Redstone, collectively where

appropriate, designated the “MCA Lenders.”

         5.       On August 16, 2022 Plaintiff obtained the entry of an arbitration award

(the “Award”) against the Defendants. On August 31, 2022 Plaintiff filed its Petition

To Confirm And Enter Judgment Thereon in Alachua County, Eighth Judicial

Circuit (the “Petition to Confirm”). The Petition to Confirm, with the Award

annexed thereto as Exhibit “A”, is annexed hereto as Exhibit “1.”

         6.       Plaintiff alleges that by November 8, 2022. Defendants had been served

with process of the Petition and Summons.


2
  Denominated “Respondents” in the State Court. Of the foregoing Respondents, Big Daddy Guns Inc. and Big
Daddy Guns 2 Inc. are Chapter 11 Debtors. Otpyg, Inc., not a removing party, was a Chapter 7 Debtor, Case No. 22-
10186-KKS. The case concerning Otpyg, Inc. was closed on March 2, 2023. The entity “Big Daddy Guns Of
Ocala”, upon information and belief, does not exist, and upon further information and belief was sued as a d/b/a/ for
one or both of the Debtor Defendants.
                                                         3
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        7.       On February 3, 2023, Plaintiff entered judgment against Defendants,

including Debtor Defendants in the amount of $3,433,367.05 plus post-judgment

interest accruing from the date of the Arbitration Award at a rate of 4.75% per

annum, plus costs and attorneys' fees (the “Judgement”). A copy of the Judgment is

annexed hereto as Exhibit “2.”

        8.       On February 16, 2023, Defendants served an Amended Motion 3 for

Rehearing and Motion to Set Aside Order Confirming Arbitration Award and Final

Judgment, a copy of which is annexed hereto as Exhibit “3.”

        9.       On March 2, 2023, the State Court entered an Order Denying Motion

to Set Aside Judgment Confirming Arbitration Award, a copy of which is annexed

hereto as Exhibit “4.”

        10.      On March 15, 2023, Plaintiff served a Corrected Motion for Sanctions,

a copy of which is annexed hereto as Exhibit “5” (the “Sanctions Motion”) The

Sanctions Motion sought relief against Defendants, including Debtor Defendants,

and counsel.

        11.       On April 3, 2023, Plaintiff served a Motion to Compel Defendants,

including Debtor Defendants, to file Form 1.977s (the “Motion to Compel”). A Form

1.977 is a detailed request for financial information about the Defendants, including


3
 All references to “Amended” or “Corrected” motions relate to additions of certifications on attempts to resolve the
matters.
                                                         4
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Debtor Defendants A copy of the Motion to Compel is annexed hereto as Exhibit

“6”.

       12.    An April 3, 2023, the Defendants, including Debtor Defendants, filed a

Notice of Appeal of Order Denying Motion to Set Aside Judgment. A copy of the

Notice of Appeal is annexed hereto as Exhibit “7”.

       13.    Exhibits “1” through “7” constitutes the pleadings in this case. Any

further documents will be provided to this Court or the Bankruptcy Court on request.

       14.    The State Court Action has been assigned Index Number 2022-CA-

002743.

       15.    Since the Debtor Defendants filed their Chapter 11 petitions on March

21, 2023 and the automatic stay has not been lifted, this Notice of Removal is being

timely filed pursuant to Rule 9027 of the Federal Rules of Bankruptcy Procedure.

       16.    This action is a “core proceeding” within the meaning of 28 U.S.C. §

157(b)(2)((A), (B),(K), M) and (O) in that the action concerns (i) the disposition of

property of the estate; (ii) determination of a claim of Plaintiff, an alleged creditor,

against the Debtor Defendants; (iii) the ability of the Debtor to collect its receivables;

and (iv) the relative priorities afforded the major disputed creditors of these Debtor

Defendants.

       17.    Even though the Award has been confirmed as a judgment, there are

bankruptcy-related issues that require adjudication. Those include, but are not
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limited to:

      (a)   The extent to which the Judgment reflects unmatured interest
      under 11 U.S.C. §502(b)(2);
      (b)   The extent to which the claim is subject to equitable
      subordination under 11 U.S.C. §510(c); and
      (c)   The relative priority of their liens vis a vis other allegedly
      secured parties as described below.

      18.       The Debtor Defendants’ major creditors filed UCC security interest as

follows:

      Against Big Daddy Guns, Inc.

                “Lender”          Date                Remarks
              1. Sports           8/13/19             Upon information and belief
                 South LLC                            this is fully paid and
                                                      satisfied
              2. Worldwide        1/19/21             Upon information and belief
                Distributors                          this is fully paid and
                                                      satisfied
              3. Zen Capital      12/30/21            Arbitration award in the
                                                      amount of $3,433,367.05.
              4. Meged            1/11/22             Arbitration award in the
                                                      amount of $3,313,576.91
              5. Redstone         3/10/22             UCC Filing
              6. RSR              5/19/22             Upon certain inventory only
                                                      and not accounts. Adversary
                                                      proceeding            seeks
                                                      declaration on RSR’s rights




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       Against Big Daddy Guns 2, Inc.

               “Lender”                  Date                Remarks
             1. Worldwide                1/19/21             Upon information and
               Distributors                                  belief this is fully paid
                                                             and satisfied
             2. Zen Capital              12/31/21            Arbitration award in
                                                             the      amount        of
                                                             $3,433,367.05.
             3. Meged                    1/11/22             Arbitration award in
                                                             the      amount        of
                                                             $3,313,576.91
             4. Redstone                 3/10/22             UCC Filing
             5. RSR                      5/19/22             Upon certain inventory
                                                             only and not accounts.
                                                             Not subject of this
                                                             proceeding

       19.     Because of the tangled nature of these proceedings, on April 11, 2023

the Debtor Defendants filed an Adversary Proceeding, Adv. Proc. No. 23-1001

(KKS) for declaratory relief and to determine the nature, extent, validity and priority

of their interests in the Estates and property of the Estates (the “Adversary

Proceeding”).

       20.     The Debtor-Defendants removed an action entitled Redstone Advance

Inc. v. Big Daddy Unlimited, Inc. et. al., 23 Adv. 1002.

       21.     The Debtor Defendants in alleged, in the Adversary

P r o c e e d i n g t h a t t h e M C A L e n d e r s entered into contracts with the Debtors.

The terms of the contracts were part of standard-form contracts prepared by the

MCA Lenders. The terms of the contracts when considered in context were unduly
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oppressive, unconscionable and/or are against public policy. As a result of the

unequal bargaining power and oppressive terms, the contracts between the Debtors

and the MCA Lenders are contracts of adhesion.

      22.    Inasmuch as this action, referred to as the “Zen Removed Action,” and

the Adversary Proceeding cover much of the same factual ground, the Debtor

Defendants are removing this action to the Bankruptcy Court.

      23.    Pursuant to 28 U.S.C. Section 1334(d) and the amended Administrative

Order, 4:95mc40111, as amended June 5, 2012, by the Hon. M. Casey Rodgers, a

copy of which is annexed hereto as Exhibit “8” (the “Administrative Order”), the

Bankruptcy Court has core jurisdiction over the determination of this action, as an

Adversary Proceeding. See Fed.R.Bankr.P. Rule 7001(10).

      24.    Consequently, the Zen Removed Action, which involves the collection

and disposition of property of the Debtor as well as the proper administration of the

Debtor's bankruptcy estate, should be decided by the Honorable Judge assigned to

these proceedings.




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      25.    This action, as removed to this Court, is a civil action of which this

Court has original jurisdiction under the provisions of 28 U.S.C. Section 1334 and

is one which may be removed to this Court by the Debtor pursuant to the provisions

of 28 U.S.C. Section 1452, in that the matter in controversy is a civil action related

to a bankruptcy case.

Dated: April 17, 2023


                                      JOSE I. MORENO, P.A.
                                      Proposed Counsel for the Debtors
                                      Florida Bar No. 659460
                                      240 NW 76th Drive, Suite D
                                      Gainesville, FL 32607
                                      (352) 332-4422
                                      Jimorenolaw@gmail.com
                                    By: /s/ Jose I. Moreno
                                           Jose I. Moreno, Esq.

                                         DAVIDOFF HUTCHER & CITRON LLP
                                         Proposed Special Counsel for the Debtors
                                         New York Bar No. 1674118
                                         605 Third Avenue
                                         New York, New York 10158
                                         (914) 381-7400
                                         rlr@dhclegal.com

                                         By:/s/
                                         Robert L. Rattet, Esq.




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                EXHIBIT “1”
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                EXHIBIT “2”
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                  IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                          IN AND FOR ALACHUA COUNTY, FLORIDA

                                                                     CIVIL DIVISION
        ZEN CAPITAL,                                                 Case No.: 01-2022-CA-002743
             Claimant

        V.
                                                                            RECORDED IN OFFICIAL RECORDS
        WIDE OPEN ENTERPRISES DBA                                        INSTRUMENT# 3471561       2   PG(S)
        WIDE OPEN TRIGGERS, ET AL.,                                                          2/6/2023 4:04 PM
                                                                               BOOK 5068                 PAGE 2161
             Respondents,                                                                 J.K. JESS IRBY, ESQ.
        _ _ _ _ _ _ _ _ _ _ _/                                                 Clerk of the Court, Alachua County, Florida
                                                                            ERECORDED                      Receipt# 1129178
                                                                                 Doc Stamp-Mort: $0.00
                                            FINAL JUDGMENT                      Doc Stamp-Deed: $0.00
                                                                                      lntang. Tax: $0.00

               THIS CAUSE having come before the Court upon Claimant's Motion to Confirm
        Arbitration Award and Enter Judgment Thereon ("Motion") pursuant to Florida Statute Sections
        682.12 and 682.15, filed December 30, 2022, the Court having considered the Petition and
        Motion, heard argument from Claimant's counsel, and being otherwise duly advised on the
        premises, it is hereby:

                ORDERED AND ADJUDGED that Claimant, ZEN CAPITAL, Shall recover from the
        Respondents AMERICA UNLIMITED INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; BIG DADDY BRANDS, INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; BIG DADDY ENTERPRISES, INC., located at 7901 4th St. N, Suite
        300, St. Petersburg, FL 33702; BIG DADDY GUNS 2 INC., located at 7901 4th St. N, Suite
        300, St. Petersburg, FL 33702; BIG DADDY GUNS 3, INC., located at 7901 4th St. N, Suite
        300, St. Petersburg, FL 33702; BIG DADDY GUNS INC., located at 7901 4th St. N, Suite 300,
        St. Petersburg, FL 33702; BIG DADDY HEALTH INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; BIG DADDY MANUFACTURING INC., located at 7901 4th St. N,
        Suite 300, St. Petersburg, FL 33702; BIG DADDY ORDNANCE, INC., located at 7901 4th St.
        N, Suite 300, St. Petersburg, FL 33702; BIG DADDY UNLIMITED, INC., located at 7901 4th
        St. N, Suite 300, St. Petersburg, FL 33702; SURVIVAL DISPATCH, INC., located at 7901 4th
        St. N, Suite 300, St. Petersburg, FL 33702; WFO ENTERPRISES, INC., located at 7600 NW 5th
        Place, Gainesville, FL 32607; XCLUDED MEDIA INC., located at 7901 4th St. N, Suite 300,
        St. Petersburg, FL 33702; BIPPY FILMS LLC, located at 7600 NW 5th Place, Gainesville, FL
        32607; AMERICA UNLIMITED MARKETING INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; and ANTHONY MICHAEL MCKNIGHT located at 27831 NW 46th
        Ave., Newberry, FL 32669, in the amount of three million four hundred thirty three thousand
        three hundred sixty seven dollars and five cents ($3,433,367.05) plus post-judgment interest
        accruing from the date of the Arbitration Award at a rate of 4. 75% per annum, plus costs and
        attorneys' fees, for which let execution forthwith.

               In addition, it is further ORDERED AND ADJUDGED the following:



        1


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       1. Within forty-five days (45) of entry of final judgment, Respondents shall properly,
          completely, and candidly complete Form 1.977, the version which applies to business
          entities and individuals.

       2. This Court shall retain jurisdiction to enforce this judgment and to further award costs
          and attorneys' fees.

       Done and Ordered in Chambers in Gainesville, Alachua County, Florida on this Friday,
February 3, 2023.




                                                  Donna M. Keim, Circuit Judge
                                                          01-2022-CA-002743 02/03/2023 08:13:37 AM


                                 CERTIFICATE OF SERVICE

       I do hereby certify that a true and correct copy of the above has been served by e-portal
or by First Class US Mail on this Friday, February 3, 2023.

 RYAN CLANCY, ESQ                         STEVEN J KALISHMAN, P.A.
 ryan@business-esq.com                    steve@kalishmanlaw.com
 info@business-esq.com
 yamila@business-esq.com

 JOSE I. MORENO, ESQ.
 jimorenolaw@gmail.com
 veve.morenolaw@gmail.com
 recj osemorenolaw@gmail.com




                                                   Theresa Hall, Judicial Assistant
                                                           0i-2022-CA-002743 02/03/2023 08:15:55 AM




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                EXHIBIT “3”
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                EXHIBIT “4”
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                EXHIBIT “5”
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                EXHIBIT “6”
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                           IN THE CIRCUIT COURT OF THE EIGHTH WDICIAL CIRCUIT
                                   IN AND FOR ALACHUA COUNTY, FLORIDA

                                                                          CIVIL DIVISION
         ZEN CAPITAL,                                                     Case No.: 012022CA002743

                 Claimant
        V.

         WIDE OPEN ENTERPRISES DBA
         WIDE OPEN TRIGGERS, ET AL.,

                 Respondents,
        -------------
                                                 I

                                               MOTION TO COMPEL

                 COMES NOW, Claimant, ZEN CAPITAL ("Claimant"), by and through undersigned

         counsel, hereby respectfully moves this Court to compel Respondents, BIG DADDY

        UNLIMITED, INC., AMERICA UNLIMITED INC., BIG DADDY BRANDS, INC., BIG

         DADDY ENTERPRISES, INC., BIG DADDY GUNS 3, INC., BIG DADDY HEALTH INC.,

         BIG DADDY MANUFACTURING INC., BIG DADDY ORDNANCE, INC., SURVIVAL

         DISPATCH, INC., WFO ENTERPRISES, INC., XCLUDED MEDIA INC., BIPPY FILMS LLC,

        AMERICA UNLIMITED MARKETING INC., and ANTHONY MICHAEL MCKNIGHT

         (Collectively "Respondents"), to file their respective Form 1.977s, and in support thereof states:

                 1.        Claimant holds a Final Judgment in the amount of three million four hundred thirty-

        three thousand three hundred sixty-seven dollars and five cents ($3,433,367.05) plus post-

        judgement interest, costs, and attorneys' fees (the "Final Judgment"). See Final Judgment attached

         hereto as Exhibit "A."

                 2.        On or about February 3, 2023, the Final Judgment was duly served upon Defendants

        through their attorneys of record, Steven Kalishman and Jose Moreno, via the Florida e-Filing

         Portal. See id.




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        3.      The Final Judgment ordered that the Defendants "completely, candidly and

accurately fill out Form 1.977 within forty-five (45) days as they apply to Business Entities and

Individuals respectively." Id.

       4.      Pursuant to Florida Rules of Civil Procedure Rule 1.560 and the Final Judgment,

Defendants had up to and including March 20, 2022, to fill out and return Form 1.977 to the

Plaintiff, as required by the order of this Court.

        5.     As of the date of this Motion, Defendants have failed to complete and return the

Form 1.977.

        6.     As a result, Defendants have failed to act in accordance with this Court's order.

       WHEREFORE, Claimant, ZEN CAPITAL, respectfully requests that this Honorable

Court issue to the Respondents, BIG DADDY UNLIMITED, INC., AMERICA UNLIMITED

INC., BIG DADDY BRANDS, INC., BIG DADDY ENTERPRISES, INC., BIG DADDY GUNS

3, INC., BIG DADDY HEALTH INC., BIG DADDY MANUFACTURING INC., BIG DADDY

ORDNANCE, INC., SURVIVAL DISPATCH, INC., WFO ENTERPRISES, INC., XCLUDED

MEDIA INC., BIPPY FILMS LLC, AMERICA UNLIMITED MARKETING INC., and

ANTHONY MICHAEL MCKNIGHT, an Order compelling Respondents to complete and return

their respective Form 1.977.

Dated: April 3, 2023                                    Respectfully submitted,

                                                       AINSWORTH+ CLANCY, PLLC
                                                       801 Brickell A venue, 8th Floor
                                                       Miami, FL 33131
                                                       Telephone: (305) 600-3816
                                                       Facsimile: (305) 600-2817
                                                       Counsel for Claimant

                                                        By: s/ Ryan Clancy
                                                        Ryan Clancy, Esq.
                                                        Florida Bar No. 117650
              Case 23-01003-KKS         Doc 1     Filed 04/17/23     Page 58 of 73




                                                     Email: rvan@.business-esq.com
                                                     Email: info(m.business-esg .com


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that a true and correct copy of the foregoing document was served

upon all parties of record and that good faith attempts to meet and confer on the issues were made,

pursuant to Admin Order 3.09 via phone on March 23, at 2:37pm and 3:56pm and March 24 at

2:47pm but was met with no answer so the parties were unable to come to a resolution, and that a

copy of the foregoing has been served upon all parties of record via the Florida E-portal's

automatically generated Email as of the date of filing of this Motion.

                                                     By: s/ Ryan Clancy
                                                     Ryan Clancy, Esq
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                    Exhibit A
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                  IN THE CIRCUIT COURT OF THE EIGHTH JUDICIAL CIRCUIT
                          IN AND FOR ALACHUA COUNTY, FLORIDA

                                                                 CIVIL DIVISION
        ZEN CAPITAL,                                             Case No.: 01-2022-CA-002743
             Claimant

        V.

        WIDE OPEN ENTERPRISES DBA
        WIDE OPEN TRIGGERS, ET AL.,
             Respondents,
        _ _ _ _ _ _ _ _ _ _ _/

                                           FINAL JUDGMENT

               THIS CAUSE having come before the Court upon Claimant's Motion to Confirm
        Arbitration Award and Enter Judgment Thereon ("Motion") pursuant to Florida Statute Sections
        682.12 and 682.15, filed December 30, 2022, the Court having considered the Petition and
        Motion, heard argument from Claimant's counsel, and being otherwise duly advised on the
        premises, it is hereby:

                ORDERED AND ADJUDGED that Claimant, ZEN CAPITAL, Shall recover from the
        Respondents AMERICA UNLIMITED INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; BIG DADDY BRANDS, INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; BIG DADDY ENTERPRISES, INC., located at 7901 4th St. N, Suite
        300, St. Petersburg, FL 33702; BIG DADDY GUNS 2 INC., located at 7901 4th St. N, Suite
        300, St. Petersburg, FL 33702; BIG DADDY GUNS 3, INC., located at 7901 4th St. N, Suite
        300, St. Petersburg, FL 33702; BIG DADDY GUNS INC., located at 7901 4th St. N, Suite 300,
        St. Petersburg, FL 33702; BIG DADDY HEALTH INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; BIG DADDY MANUFACTURING INC., located at 7901 4th St. N,
        Suite 300, St. Petersburg, FL 33702; BIG DADDY ORDNANCE, INC., located at 7901 4th St.
        N, Suite 300, St. Petersburg, FL 33702; BIG DADDY UNLIMITED, INC., located at 7901 4th
        St. N, Suite 300, St. Petersburg, FL 33702; SURVIVAL DISPATCH, INC., located at 7901 4th
        St. N, Suite 300, St. Petersburg, FL 33702; WFO ENTERPRISES, INC., located at 7600 NW 5th
        Place, Gainesville, FL 32607; XCLUDED MEDIA INC., located at 7901 4th St. N, Suite 300,
        St. Petersburg, FL 33702; BIPPY FILMS LLC, located at 7600 NW 5th Place, Gainesville, FL
        32607; AMERICA UNLIMITED MARKETING INC., located at 7901 4th St. N, Suite 300, St.
        Petersburg, FL 33702; and ANTHONY MICHAEL MCKNIGHT located at 27831 NW 46th
        Ave., Newberry, FL 32669, in the amount of three million four hundred thirty three thousand
        three hundred sixty seven dollars and five cents ($3,433,367.05) plus post-judgment interest
        accruing from the date of the Arbitration Award at a rate of 4. 75% per annum, plus costs and
        attorneys' fees, for which let execution forthwith.

               In addition, it is further ORDERED AND ADJUDGED the following:



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       1. Within forty-five days (45) of entry of final judgment, Respondents shall properly,
          completely, and candidly complete Form 1.977, the version which applies to business
          entities and individuals.

       2. This Court shall retain jurisdiction to enforce this judgment and to further award costs
          and attorneys' fees.

       Done and Ordered in Chambers in Gainesville, Alachua County, Florida on this Friday,
February 3, 2023.




                                                  Donna M. Keim, Circuit Judge
                                                          01-2022-CA-002743 02/03/2023 08:13:37 AM


                                 CERTIFICATE OF SERVICE

       I do hereby certify that a true and correct copy of the above has been served by e-portal
or by First Class US Mail on this Friday, February 3, 2023.

 RYAN CLANCY, ESQ                         STEVEN J KALISHMAN, P.A.
 ryan@business-esq.com                    steve@kalishmanlaw.com
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                                                   Theresa Hall, Judicial Assistant
                                                           0i-2022-CA-002743 02/03/2023 08:15:55 AM




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                EXHIBIT “7”
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                EXHIBIT “”
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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA


IN RE:     STANDING ORDER OF REFERENCE                                     4:95mc4011
           REGARDING TITLE 11
___________________________________________/


                             ADMINISTRATIVE ORDER

         Pursuant to 28 U.S.C. Section 157(a) all cases under Title 11
(Bankruptcy) and all proceedings arising under Title 11 (Bankruptcy) or arising in
or related to a case under Title 11 (Bankruptcy) are referred to the bankruptcy
judge(s) of this district.
         If a bankruptcy judge or district judge determines that entry of a final order
or judgment by a bankruptcy judge in a particular proceeding referred under this
order and determined to be a core matter would not be consistent with Article III
of the United States Constitution, the bankruptcy judge shall, unless otherwise
ordered by the district court, hear the proceeding and submit proposed findings
of fact and conclusions of law to the district court. The district court may treat
any order of the bankruptcy court as proposed findings of fact and conclusions of
law in the event the district court concludes that the bankruptcy judge could not
have entered a final order or judgment consistent with Article III of the United
States Constitution.


         DONE AND ORDERED this 5th day of June, 2012.



                                      s/   M. Casey Rodgers
                                     M. CASEY RODGERS
                                     CHIEF UNITED STATES DISTRICT JUDGE
